                                                     Clear Form
DOCUMENTS UNDERCase5:15-cr-00226-EJD
                 SEAL                      Document70                    Filed08/26/15
                                                                            TOTAL TIME (mPage1
                                                                                          ins): of
                                                                                                 361min
M AGISTRATE JUDGE              DEPUTY CLERK                                          REPORTER/FTR
M INUTE ORDER                 Lili M. Harrell                                      FTR: 10:14am - 10:50am
MAGISTRATE JUDGE               DATE                                                  NEW CASE        CASE NUMBER
Nathanael Cousins                         August 26, 2015                                            15-cr-00226 EJD
                                                      APPEARANCES
DEFENDANT                                  AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.     RET.
Douglas York                                        N        P       Graham Archer                          APPT.
U.S. ATTORNEY                              INTERPRETER                            FIN. AFFT              COUNSEL APPT'D
Jeff Schenk, Brianna Penna                                                        SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR             PARTIAL PAYMENT
                             Anthony Granados                         APPT'D COUNSEL               OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                                                                              TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT             BOND HEARING            IA REV PROB. or            OTHER
                                                                                   or S/R
       DETENTION HRG               ID / REMOV HRG          CHANGE PLEA             PROB. REVOC.               ATTY APPT
                                                                                                              HEARING
                                                     INITIAL APPEARANCE
         ADVISED                ADVISED                   NAME AS CHARGED             TRUE NAME:
         OF RIGHTS              OF CHARGES                IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON              READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT                SUBSTANCE
                                                         RELEASE
      RELEASED            ISSUED                     AMT OF SECURITY         SPECIAL NOTES               PASSPORT
      ON O/R              APPEARANCE BOND            $                                                   SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION            PRETRIAL               DETAINED           RELEASED      DETENTION HEARING               REMANDED
      FOR               SERVICES                                                AND FORMAL FINDINGS             TO CUSTODY
      DETENTION         REPORT                                                  W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                             PLEA
    CONSENT                     NOT GUILTY                  GUILTY                   GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA              PLEA AGREEMENT           OTHER:
    REPORT ORDERED                                          FILED
                                                        CONTINUANCE
TO:                                ATTY APPT               BOND                   STATUS RE:
8/27/2015 (previously set)         HEARING                 HEARING                CONSENT                   TRIAL SET

AT:                                SUBMIT FINAN.            PRELIMINARY           CHANGE OF                 STATUS
                                   AFFIDAVIT                HEARING               PLEA
1:30PM                                                      _____________
BEFORE HON.                        DETENTION                ARRAIGNMENT            MOTIONS                  JUDGMENT &
                                   HEARING                                                                  SENTENCING
Davila
         TIME W AIVED              TIME EXCLUDABLE          IDENTITY /            PRETRIAL                  PROB/SUP REV.
                                   UNDER 18 § USC           REMOVAL               CONFERENCE                HEARING
                                   3161                     HEARING
                                                 ADDITIONAL PROCEEDINGS
Court finds defendant in violation of the rules at the halfway house. Defendant to abide by his previous conditions of release
and reside with custodian Pamela Beale at her residence. Court strikes condition for deft to seek employment. Defendant shall
continue to participate in drug counseling as directed by Pretrial Services.
                                                                                        DOCUMENT NUMBER:
